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NOVI 9 2019
UNITED STATES DISTRICT COURT _,
SOUTHERN DISTRICT OF TEXAS David J. Bradiey, Cletis
McALLEN DIVISION
UNITED STATES OF AMERICA §
§ .
Vv. § Criminal No. =
BRENDA FUENTES § 7
SEALED INDICTMENT
_THE GRAND JURY CHARGES:

From on or about July 30, 2018 to on or about August 8, 2018, in the Southern District of

Texas and within the jurisdiction of the Court, defendant,
BRENDA FUENTES
an employee at the East Hidalgo Detention Center, did knowingly engage in a sexual act, to wit,
the contact between the mouth and genitals with federal inmate R.R.H, who was during this time
in official detention and under the custodial, supervisory, and disciplinary authority of the
Defendant, in that the Defendant was a Cook Supervisor at the Bast Hidalgo Correctional Facility .
| in which R.R.H. was a federal inmate.
In violation of Title 18, United States Code, Section 2243(b).

A TRUE BILL

rUKEPERSON f 7

RYAN K. PATRICK ;
UNITED STATES ATTORNEY

  
   

TED STATES ATTORNEY
